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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                      District
                                                __________     of Oregon
                                                           District of __________

                  United States of America                        )
                             v.                                   )
                                                                  )      Case No. 6:20-mj-00208-MK
                   Luis Alejandro Juarez                          )
                                                                  )
                                                                  )
                                                                  )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  August 14, 2020              in the county of                 Lane            in the
                       District of           Oregon           , the defendant(s) violated:

            Code Section                                                    Offense Description
18 U.S.C. § 922(g)(1)                          Felon in possession of a firearm




         This criminal complaint is based on these facts:
The attached affidavit of DEA SA Andrew Hsia, which is incoporated herein.




         ✔ Continued on the attached sheet.
         ’
                                                                           S/Andrew Hsia
                                                                                             Complainant’s signature

                                                                                     Andrew Hsia, DEA Special Agent
                                                                                              Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                  740a.m./p.m.
telephone at ________

Date:      8/15/20
                                                                                                Judge’s signature

City and state:                         Eugene, Oregon                            Mark D. Clarke, U.S. Magistrate Judge
                                                                                              Printed name and title
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DISTRICT OF OREGON, ss:            AFFIDAVIT OF ANDREW N. HSIA


              Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Andrew N. Hsia, being duly sworn, do hereby depose and state as follows:



                              Introduction and Agent Background

       1.      I am a Special Agent (SA) with the United States Drug Enforcement

Administration (DEA) and have been since September 2014. My current assignment is at the

Eugene Resident Office in Eugene, Oregon. I am empowered by Title 21, United States Code,

Section 878 to make arrests and obtain and execute search warrants. My job assignment

includes, but is not limited, to the investigation of violations of Title 21, United States Code,

Sections 841(a)(1), 846, 843(b), and 856, which includes the detection, identification, and

apprehension of those individuals involved in narcotics trafficking offenses. I have attended the

Drug Enforcement Academy where I received basic and specialized training from the DEA.

Based off training I have received and my own experience, I am familiar with the methods and

techniques employed by traffickers of controlled substances to obfuscate and disguise their illicit

activity. As firearms are often involved in drug crimes, I am also familiar with firearm offenses

and have investigated those as well.

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Luis Alejandro Juarez (JUAREZ) for being a felon in possession of a firearm, in violation of

Title 18, United States Code, Section 922(g)(1), felon in possession of a firearm. As set forth

below, there is probable cause to believe, and I do believe, that JUAREZ committed the above

offense.

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       3.       I am familiar with the facts and circumstances of this investigation based on my

personal involvement in this investigation and from oral and written reports made to me by other

law enforcement officers. Unless placed in quotes, the statements of individuals are not direct

quotes, but rather the essence of what the individual said.   This affidavit does not include all of

the facts known to me regarding this investigation; only those sufficient to establish probable

cause for the complaint and arrest warrant.

                                          Applicable Law

       4.       Title 18, United States Code, Section 922(g) provides in relevant part that “it shall

be unlawful for any person (1) who has been convicted in any court of a crime punishable by

imprisonment for a term exceeding one year … to … possess in or affecting interstate commerce,

any firearm or ammunition or to receive any firearm or ammunition which has been shipped or

transported in interstate or foreign commerce.”


                                  Statement of Probable Cause

             A. August 14, 2020, Encounter with JAUREZ and Seizure of Loaded Assault
                Rifle and Body Armor

       5.       On August 14, 2020, law enforcement secured the residence located at 1225

Clearview Avenue NE, Keizer, Marion County, Oregon (“Clearview address”) in anticipation of

a search warrant related to the investigation of a drug trafficking organization and arrest of an

individual who had received approximately 40 pounds of methamphetamine at the Clearview

address that morning. During this time, multiple individuals were contacted inside and outside

of the residence. Among those contacted by law enforcement was JUAREZ.

       6.       JUAREZ was slouched down in front of a white 2006 Hummer H3, parked in the


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backyard of the Clearview address. Law enforcement observed a plastic baggie with a white

substance in JUAREZ’s hands as law enforcement approached. After receiving commands to

show his hands, JUAREZ dropped the plastic baggie to the ground. Investigators later collected

the baggie which appeared to be about one ounce of suspected methamphetamine which field

tested presumptive positive for methamphetamine. During JUAREZ’s detainment, he told law

enforcement that he had “drugs” in his pocket and allowed law enforcement officers to remove

them from his pants. These drugs turned out to be a small twisted baggie with a white powdery

substance which field tested presumptive positive for cocaine and another small re-sealable

baggie with three small blue pills which field tested presumptive positive for MDMA.

       7.      JUAREZ identified a red 2013 Nissan Rogue bearing Oregon license plates

376LQU (“red Rogue”), as being the vehicle he drove to the location in. According to an

Oregon Vehicle Registration Card later found inside of the vehicle, Zulema Javier Ramirez was

the registered owner of the vehicle which JUAREZ later said was his wife.

       8.      JUAREZ provided law enforcement with a verbal and written consent to search

his vehicle. Law enforcement conducted a search of the vehicle and found a piston-driven semi-

automatic American Tactical Omni Hybrid AR-15 rifle, serial number NS278915, which had a

loaded magazine with .223 bullets inside of it, concealed under a black plastic bag and a jacket,

leaned up against the front passenger seat. The markings on the AR-15 as well as the

information on the American Tactical Imports website indicate that the weapon was assembled

in Summerville, South Carolina and thus affected and was transported in interstate commerce.

The rifle had the front muzzle on the front passenger floorboard with the stock-end of the gun

toward the roof of the vehicle, within easy reach of the driver of the vehicle. Law enforcement


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also discovered a wearable ballistic vest, which had markings on it for an Officer Fowler, Badge

4152 of “INSP,” in the cargo area of the hatchback vehicle.

       9.       Law enforcement observed that the red Rogue’s keys were inside of the ignition

as they continued their search of the vehicle. Also inside of the vehicle, in close proximity to the

firearm was an Oregon Identification Card bearing JUAREZ’s photo and biographical

information. Numerous documents with JUAREZ’s name on them, were found in the front

passenger seat area as well. One such example was a letter from the State of Washington

Department of Licensing, addressed to JUAREZ at 4326 San Francisco Drive NE, Salem,

Oregon with a date of July 7, 2020, advising him that his license would be suspended on August

23, 2020 as a result of failing to respond, appear, pay, or comply with the terms of a citation for

“driving while license suspended.”

             B. JUAREZ’s Post Arrest Statements

       10.      JUAREZ was Mirandized and agreed to speak to law enforcement. He told

investigators that the powdery substance in his pocket was cocaine. JUAREZ then said that he

had been snorting a line of cocaine off the hood of the Hummer as law enforcement arrived.

JUAREZ admitted that the pills found on him were ecstasy and that he had obtained them several

months prior. When asked about the baggie of suspected methamphetamine, JUAREZ denied

using methamphetamine and said he had not dropped the methamphetamine. However, as

previously noted, law enforcement officers observed JUAREZ drop the baggie of suspected

methamphetamine.

       11.      JUAREZ confirmed that red Rogue was his wife’s that he drove to the location.

He admitted that all the items inside were his. However, he later claimed that the firearm and the


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body armor were not his, nor did he know that they were inside of the vehicle. JUAREZ assured

investigators that he was not saying law enforcement had purposely placed the rifle and body

armor in his vehicle. Instead, JUAREZ said that for about 10 minutes he was not around the

vehicle when he went relieved himself at a different part of the backyard and suggested that

someone inside the residence may have hidden the rifle and body armor in his vehicle while he

was away from it during that time. He claimed he had never been to the residence before but that

there were individuals at the residence who were related to the person he had been convicted of

attempting to murder.

       12.      While being transported to the Lane County Jail after his arrest, JUAREZ told law

enforcement that he was a convicted felon, was not supposed to have any weapons or body

armor in his car, and was not supposed to be using drugs. JUAREZ said that he was convicted of

shooting a subject and spent years in prison.

             C. JUAREZ’s Criminal History

       13.      Law enforcement confirmed that JUAREZ was a convicted felon. In 1992,

JUAREZ was charged and convicted of attempt to commit murder, attempt to commit an assault

I, and two counts of unlawful use of a weapon in Oregon Judicial case number 92C20484 in the

Marion County Circuit Court. He was sentenced to 60 months in prison for the attempt to

commit murder charge. During his incarceration, JUAREZ was charged and convicted of

smuggling contraband into prison in Oregon Judicial case number 94C20387. He was sentenced

to 28 months. In 2004, JUAREZ was also charged and convicted of felony possession of a

stolen vehicle in Oregon Judicial case number 04C53334 in the Marion County Circuit Court.

He was sentenced to 5 days in jail.


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                                           Conclusion

       14.     Based on the foregoing, I have probable cause to believe, and I do believe, that

Luis Alejandro JUAREZ was a convicted felon in possession of a firearm, in violation of Title

18, United States Code, Section 922(g)(1). I therefore request that the Court issue a criminal

complaint and arrest warrant for Luis Alejandro JUAREZ.

       15.     Prior to being submitted to the Court, this affidavit, the accompanying complaint

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Joseph

Huynh, and AUSA Huynh advised me that in his opinion the affidavit and complaint are legally

and factually sufficient to establish probable cause to support the issuance of the requested

criminal complaint and arrest warrant.
                                                     S/ Andrew Hsia
                                                     _______________________________
                                                     Andrew N. Hsia
                                                     DEA Special Agent

       Sworn in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone at _____
                                                                                                 740
               8/15/20
a.m/p.m. on ________________.

                                                     ________________________________
                                                     MARK D. CLARKE
                                                     United States Magistrate Judge




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